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   10     Bally Gaming, Inc. d/b/a Bally Technologies
   11

   12                          UNITED STATES DISTRICT COURT
   13                        CENTRAL DISTRICT OF CALIFORNIA
   14                                    WESTERN DIVISION
   15                                                   CASE NO.: 2:15-CV03202
          BALLY GAMING, INC., a Nevada
   16     corporation d/b/a Bally Technologies,     PLAINTIFF BALLY GAMING, INC.’S
                                                    ACCEPTANCE OF DEFENDANTS
   17                                               JAY SIMON, JEFF SIMON, AND
                            Plaintiff,
                                                    CASINO SUPPLY COMPANY’S
   18                                               OFFER OF JUDGMENT
          v.
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   20     JAY SIMON, an individual, JEFF
          SIMON, an individual, CASINO
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          SUPPLY COMPANY, and DOES 1-10,
   22
                            Defendants.
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               PLAINTIFF BALLY GAMING, INC.’S ACCEPTANCE OF DEFENDANTS’ OFFER OF JUDGMENT
1034753
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    1            Pursuant to Federal Rule of Civil Procedure 68, Plaintiff Bally Gaming, Inc.
    2     d/b/a Bally Technologies, Inc. hereby accepts Defendants Jay Simon, Jeff Simon, and
    3     Casino Supply Company’s Offer of Judgment dated May 14, 2015, which is attached
    4     hereto as Exhibit A.
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    7     DATED: May 28, 2015                      Respectfully submitted,
    8                                              GLASER WEIL FINK
                                                    HOWARD AVCHEN & SHAPIRO LLP
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                                                   By: /s/ Adrian M. Pruetz
   11                                                  ADRIAN M. PRUETZ
   12                                                  ERICA J. VAN LOON
                                                       DAN LIU
   13                                                 Attorneys for Plaintiff
                                                      Bally Gaming, Inc.
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               PLAINTIFF BALLY GAMING, INC.’S ACCEPTANCE OF DEFENDANTS’ OFFER OF JUDGMENT
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